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                         UNITED STATES BANKRUPTCY COURT
                                      FOR THE
                           EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

     In the Matter of:
                                                  Chapter 13
     MARK ANTHONY ANDERSON
                                                  Case No. 19-10888-KHK

                           Debtor

                                  NOTICE OF ADJOURNED
                            SECTION 341 MEETING OF CREDITORS

               PLEASE TAKE NOTICE that the Section 341 Meeting of Creditors held
        on April 16, 2019 has been adjourned and requires the continued attendance of
        Debtor and Debtor’s counsel at the following time and place.

            DATE:          April 30, 2019

            TIME:          1:30 P.M.

            PLACE:         1725 Duke Street, Suite 520
                           Alexandria, VA 22314

     Date: _April 17, 2019______                            ___/s/ Thomas P. Gorman_____
                                                            Thomas P. Gorman
                                                            Chapter 13 Trustee
                                                            300 N. Washington St., Ste. 400
                                                            Alexandria, VA 22314
                                                            (703) 836-2226
                                                            VSB 26421
                                  CERTIFICATE OF SERVICE
             I hereby certify that I have this April 17, 2019 , served via ECF
     authorized users or mailed a true copy of the foregoing Notice of Meeting to
     the following parties.

     Mark Anthony Anderson                        Nathan Fisher, Esq.
     Chapter 13 Debtor                            Attorney for Debtor
     1411 Admiral Drive                           Fisher-Sandler, LLC.
     Woodbridge, VA 22192                         3977 Chain Bridge Rd. #2
                                                  Fairfax, VA 22030

                                                          __/s/ Thomas P. Gorman______
                                                          Thomas P. Gorman
